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                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
                                                    )
Seafreeze Shoreside, Inc., et al                    )
                                                    )
                                                    )
                                     Plaintiff      )        Civil Action No._______________________
                       vs
                                                    )
The United States Department of the                 )
Interior, et al                                     )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 26.1

                                           all Plaintiffs
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  None.




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               _______________________________________
                                                               Signature

 CA 264663 / DC 251967
________________________________________                       Theodore Hadzi-Antich
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               901 Congress Avenue
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                                                               _______________________________________
                                                               Phone Number
